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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov

In re:

CHANCE & ANTHEM, LLC,                                         Case No. 18-16248-BKC-MAM
                                                              Chapter 7
         Debtor.
                                          /

ROBERT C. FURR not individually but                           ADV. PROC. NO. 22-01030-MAM
as Chapter 7 Trustee of the estate of the
Substantively Consolidated Debtors,
Chance & Anthem, LLC, Sovereign
Gaming & Entertainment, LLC,
Florida’s Association of Community
Banks and Credit Unions, Inc., and
Sympatico Equine Rescue, Inc.,

         Plaintiff,
v.

MAR-A-LAGO CLUB, L.L.C.
a/k/a MAR-A-LAGO CLUB, LLC, a
Delaware limited liability company,

         Defendant.
                                          /

            FIRST AMENDED ADVERSARY COMPLAINT TO AVOID AND
           RECOVER FRAUDULENT TRANSFERS AND FOR OTHER RELIEF

         Plaintiff, Robert C. Furr (the “Trustee” or “Plaintiff”), not individually but as Chapter 7

Trustee of the bankruptcy estate of Debtor, Chance & Anthem, LLC (“Chance” or “Debtor”) and

substantively consolidated debtors (i) Sovereign Gaming & Entertainment, LLC (“Sovereign”);

(ii) Florida’s Association of Community Banks and Credit Unions, Inc. (“FLACC”); and (iii)

Sympatico Equine Rescue, Inc. (“Sympatico”)(collectively, the “Consolidated Debtors”), by and

through counsel, and pursuant to Rule 7001, Federal Rules of Bankruptcy Procedure, files this
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First Amended Adversary Complaint (“Amended Complaint”) and sues the Defendant, Mar-A-

Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC (the “Defendant”) to avoid and recover fraudulent

transfers pursuant to Sections 544, 548, and 550 of Title 11 of the United States Code, Chapter

726 of the Florida Statutes, and for other relief under state common law and states, as follows:

                           THE PARTIES, JURISDICTION AND VENUE

        1.     Plaintiff is the duly appointed and acting Chapter 7 Trustee of the Debtor and the

Consolidated Debtors.

        2.     Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC, is a limited

liability company organized and existing under the laws of the State of Delaware and is registered

as a foreign limited liability company to transact business in the State of Florida, and is otherwise

sui juris.

        3.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

157(a) and 1334(b).

        4.     This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (C), (E), (H) and

(O). The Trustee consents to the entry of final orders and judgment by the Bankruptcy Court.

        5.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                  GENERAL ALLEGATIONS

A.      The Debtor’s Bankruptcy Case.

        6.     On January 29, 2018 (the “Petition Date”), the Debtor, Chance and Anthem, LLC

(“Debtor”) filed a voluntary petition for relief (the “Petition”) under Chapter 7 of the Bankruptcy

Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Maryland

(the “Maryland Bankruptcy Court”), in the matter styled In re Chance & Anthem, LLC, Case No.

18-11168-TJC (the “Bankruptcy Case”).




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         7.       Subsequently, on May 24, 2018, the Maryland Bankruptcy Court entered its

Memorandum and Order Transferring Venue to the Bankruptcy Court for the Southern District of

Florida (the “Transfer Order”)[ECF No. 73], transferring the Bankruptcy Case to this Court.

         8.       On May 25, 2018, the Plaintiff, Robert C. Furr, was duly appointed and is the acting

Chapter 7 Trustee of the Debtor’s bankruptcy estate (the “Estate”) [ECF No. 76].

         9.       On the Petition Date, the Debtor purported to own valuable investments

(“Investments”) in a business known as CannaMed Pharmaceuticals, LLC (“CannaMed”).

However, in reality, the Debtor only had $48.00 in its checking account and approximately

$150.00 worth of office equipment.

         10.      The Debtor’s bankruptcy Schedules reflect that it received in excess of $1.3 Million

from third parties for, among other things, to use as capital in developing the CannaMed Business:1

Among these third parties and creditors of the Estate are (a) Frederick Volkwein ($500,000); (b)

Richard Neff ($526,000); (c) ABK South Properties, LLC ($250,000); (d) Gen VC, LLC

($100,000); and (e) Richard Bell ($50,000).

B.       The Substantive Consolidation of FLACC, Sympatico and Sovereign.

         11.      On January 4, 2021, the Trustee filed an Agreed Motion to Substantively

Consolidated FLACC, Sympatico and Sovereign into the Debtor’s bankruptcy Estate [Main Case,

ECF No. 284] (the “SubCon Motion”).

         12.      On January 29, 2021, the Court granted the Subcon Motion and appointed the

Plaintiff as Trustee of the Consolidated Debtors [ECF No. 300].

         13.      In the SubCon Motion, the Trustee argued, among other things, that the requested



1
  The Trustee’s investigation into the extent, validity and priority of the Investments is ongoing and remain subject to
further diligence and reconciliation. The Plaintiff reserves all rights with respect to the foregoing claims, including,
but not limited to, the right to seek to subordination or disallowance of any claim that is filed against the Estate.


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substantive consolidation of the Consolidated Debtors was in the best interest of the Estate and

further alleged that:

             a. The financial reconstruction of the books and records of the Debtor reveal that
                creditor funds were at times deployed in connection with the Consolidated Debtors
                and vice versa.

             b. Additionally, certain creditors have asserted claims against the Debtor arising from
                the relationship between the Debtor and the Consolidated Debtors, including,
                Christopher George [Claim No. 4, $2,000,000] (the “George Claim,” and
                collectively, the “Related Claims”).

             c. The Trustee’s forensic professionals have identified and analyzed connections
                between the Debtor and the Consolidated Debtors.

       14.      Additionally, the Trustee has made the following observations concerning the

financial affairs of the Debtor and the Consolidated Debtors in support substantive consolidation:

       a.       Each Consolidated Debtors was a separate legal entity and each had its own bank
                account;
       b.       The banking activity of FLACC and Sympatico do not always reflect activity
                consistent with their stated corporate purposes;
       c.       The Debtor and Consolidated Debtors had the same signatory to the bank accounts;
       d.       A portion of the banking activity of the Debtor and Consolidated Debtors are
                transfers between the Consolidated Debtors and other entities controlled by the
                same parties;
       e.       The banking activity of the Debtor and Consolidated Debtor reflect checks made
                payable to cash, deposits of cash and withdrawals and registers and ledgers other
                than those recreated by the Trustee’s forensic accountant were not made available;
       f.       Numerous banking transfers between the Debtor and Consolidated Debtors are not
                evidenced by notes, agreements or other documents which would evidence the
                business purpose or terms of the transactions;
       g.       The Debtor and Consolidated Debtors appear to have conducted financial
                transactions on behalf of each other without corresponding agreements, ledgers or
                other documents evidencing the nature and terms of the transactions; and,
       h.       The Debtor and Consolidated Debtors could not provide ledgers or registers of the
                amounts due to/due from each entity.

C.     The Avoidable Transfers.

       15.      Four years prior to the Petition Date, the Consolidate Debtors made the avoidable


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Transfers identified in Exhibit “A” attached hereto to Defendant (the “Transfer” or “Transfers”).

Significantly, the subject Transfers were made using monies of the Consolidated Debtors, but were

made on account of obligations of third-parties and, further, that the Consolidated Debtors were

(i) not obligated to make; and (ii) received no consideration or reasonably equivalent value in

exchange for the Transfers.

       16.     At all times material, the Consolidated Debtors were insolvent at the time of the

Transfer since (i) the total liabilities of the Consolidated Debtors exceeded their assets; and (ii) the

Consolidated Debtors could not pay their debts as such debts became due.

D.     Conditions Precedent.

       17.     All conditions precedent to the institution of this action have been performed, have

occurred, have been waived or have otherwise been excused.

     COUNT I – AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
       PURSUANT TO SECTION 548(A)(1)(B) OF THE BANKRUPTCY CODE

       18.     Plaintiff re-states and re-alleges paragraphs 1 through 17, as if fully set forth herein.

       19.     Pursuant to 11 U.S.C. §§ 548(a)(1)(B) and/or 544, a Trustee may avoid any transfer

of an interest of the debtor in property, or any obligation incurred by the debtor, that was made or

incurred on or within 2 years (under § 548 of the Bankruptcy Code) before the date of the filing of

the petition, if the debtor voluntarily or involuntarily –

               (B)     (i) received less than a reasonably equivalent value in
                       exchange for such transfer or obligation; and
                       (ii)    (I) was insolvent on the date that such transfer was
                               made or such obligation was incurred, or became
                               insolvent as a result of such transfer or obligation;
                               (II) was engaged in business or a transaction, or was
                               about to engage in business or a transaction, for
                               which any property remaining with the debtor was an
                               unreasonably small capital; or




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                               (III) intended to incur, or believed that the debtor
                               would incur, debts that would be beyond the debtor’s
                               ability to pay as such debts matured.
       20.     Further, pursuant to 11 U.S.C. § 550, in a fraudulent transfer action commenced

under §§ 544 and 548 of the Bankruptcy Code, the Trustee may recover, for the benefit of the

estate, the property transferred or obligation incurred, or, if the Court so orders, the value of such

property, from – (1) the initial transferee of such transfer or the entity for whose benefit such

transfer was made; and (2) any immediate or mediate transferee of such initial transferee, i.e., any

and all subsequent transferees.

       21.     The Transfer totaling at least $69,909.25, to Defendant that occurred within two (2)

years of the Petition Date constitute transfers of an interest in property and/or obligation of the

Consolidated Debtors as set forth herein, which are avoidable under 11 U.S.C. § 548(a)(1)(B) as

constructively fraudulent transfers.

       22.     The Consolidated Debtors did not receive reasonably equivalent value for the

Transfer to Defendant to the extent that the Consolidated Debtors (i) were insolvent at the time of

these Transfers to Defendant or became insolvent as a result thereof; (ii) were engaged or were

about to engage in a business or transaction for which the remaining assets of the Consolidated

Debtors were unreasonably small in relation to the business or transaction; or (iii) intended to

incur, or believed or reasonably should have believed, that the Consolidated Debtors would incur

debts beyond their ability to pay as such debts came due.

       23.     Defendant was the initial transferee or the entity for whose benefit the Transfers

were made, and as a result, the Trustee is entitled to avoid and recover these Transfers from

Defendant under 11 U.S.C. § 548(a)(1)(B) as constructively fraudulent transfers.

       24.     Alternatively, Defendant was the immediate or subsequent transferee of the initial

transferee for whose benefit the Transfers were made, and as a result, the Trustee is entitled to


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recover these Transfers as referenced above from Defendant pursuant to 11 U.S.C. § 548(a)(1)(B)

and 11 U.S.C. § 550(a)(2).

       25.     Therefore, in accordance with 11 U.S.C. § 550(a), the recovery of property for the

benefit of the Estate is authorized to the extent that the Transfers that occurred within two (2) years

of the Petition Date are avoided under 11 U.S.C. § 548(a)(1)(B).

       WHEREFORE, Plaintiff, Robert C. Furr, as Chapter 7 Trustee, demands judgment against

Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC and (a) determining that each

of the Transfers that occurred within two (2) years of the Petition Date are fraudulent and avoidable

under 11 U.S.C. § 548(a)(1)(B); (b) avoiding each Transfer and entering judgment in favor of

Plaintiff against Defendant in the aggregate amount of at least $69,909.25, or in such amounts as

are determined at trial, or the value of thereof, and as otherwise detailed in the amounts set forth

herein, plus pre-judgment interest from the date of the transfers and post-judgment interest, and

costs of suit, all pursuant to 11 U.S.C. § 550; (c) disallowing any claim that Defendant may have

against the Estate, including without limitation, pursuant to and as provided in 11 U.S.C. § 502(d);

and (d) for such other and further relief as the Court deems just and proper.

  COUNT II – AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
PURSUANT TO 11 U.S.C. §§ 544 AND CHAPTER 726 OF THE FLORIDA STATUTES

       26.     Plaintiff re-states and re-alleges paragraphs 1 through 17, as if fully set forth herein.

       27.     This is an adversary proceeding to recover an avoidable transfer pursuant to 11

U.S.C. §544(b)(1) and 550 of the Bankruptcy Code and Chapter 726, et. seq., Florida Statutes.

       28.     Pursuant to 11 U.S.C. §544, the debtor may avoid any transfer made for less than

reasonably equivalent value that were made when the debtor was insolvent, or caused the

insolvency of the debtor under Florida law.

       29.     Section 726.105(1)(b), Florida Statutes, provides:



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        (1)    A transfer made or obligation incurred by a debtor is fraudulent as to a
        creditor, whether the creditor’s claim arose before or after the transfer was made
        or the obligation was incurred, if the debtor made or the transfer or incurred the
        obligation:
                                               ***
                (b) without receiving reasonably equivalent in value in
                exchange for the transfer or obligation, and the debtor:
                        (1) was engaged or was about to engage in a
                        business or a transaction for which the remaining
                        assets of the debtor were unreasonably small in
                        relation to the business or transaction; or

                        (2) intended to incur, or believed or reasonably
                        should have believed that he would incur, debts
                        beyond his ability to pay as they became due.

       30.     Pursuant to 11 U.S.C. § 550, in a fraudulent transfer action commenced under

Sections 544 and 548 of the Bankruptcy Code and Chapter 726 of the Florida Statutes, the trustee

may recover, for the benefit of the estate, the property transferred, or, if the court so orders, the

value of such property, from – (1) the initial transferee of such transfer or the entity for whose

benefit such transfer was made; (2) any immediate or mediate transferee of such initial transferee;

or (3) any commercial conduit lacking good faith in receipt of such property.

       31.     The Transfers reflected in the attached Exhibit “A” constitutes the transfer of an

interest in property of the Consolidated Debtors to the Defendant as set forth therein within four

(4) years (under Chapter 726 of the Florida Statutes) prior to the Petition Date.

       32.     As a result of the Transfer, the Consolidated Debtors have been damaged and

pursuant to 11 U.S.C. §544(b) and §726.105(1)(b), Fla. Stat., such that the Plaintiff may recover

the total value of the Transfers.

       33.     The Defendant was either the initial transferee, or immediate or mediate transferee

of such initial transferee and was otherwise the beneficiary of the Transfer as described herein, for

whose benefit the Transfer was made and, as a result, the Plaintiff is entitled to recover the



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Transfers as voidable pursuant to 11 U.S.C. §550(a)(1).

       WHEREFORE, Plaintiff, Robert C. Furr, as Chapter 7 Trustee, demands judgment against

Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC and (a) determining that each

of the Transfers are fraudulent and avoidable under § 726.105(1)(b), Fla. Stats.; (b) avoiding the

Transfers and entering judgment in favor of Plaintiff against Defendant in the aggregate amount

of at least $69,909.25, or in such amounts as are determined at trial, or the value of thereof, and as

otherwise detailed in the amounts set forth herein, plus pre-judgment interest from the date of the

transfers and post-judgment interest, and costs of suit, all pursuant to 11 U.S.C. § 550; (c)

disallowing any claim that Defendant may have against the Estate, including without limitation,

pursuant to and as provided in 11 U.S.C. § 502(d); and (d) for such other and further relief as the

Court deems just and proper.

    COUNT III – AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
    PURSUANT TO SECTION 544 OF THE BANKRUPTCY CODE AND SECTION
                   726.106(1) OF THE FLORIDA STATUTES

       34.     Plaintiff re-states and re-alleges paragraphs 1 through 17, as if fully set forth herein.

       35.     Pursuant to 11 U.S.C. § 544(b), the Trustee may avoid any transfer of an interest of

the debtor in property or any obligation incurred by the debtor that is voidable under applicable

law by a creditor holding an unsecured claim that is allowable under § 502 of Title 11 or that is

not allowable only under § 502(e) of this title.

       36.     § 726.106(1), Florida Statutes, provides:

               A transfer made or obligation incurred by a debtor is fraudulent as
               to a creditor whose claim arose before the transfer was made or the
               obligation was incurred if the debtor made the transfer or incurred
               the obligation without receiving a reasonably equivalent value in
               exchange for the transfer or obligation and the debtor was insolvent
               at that time or the debtor became insolvent as a result of the transfer
               or obligation.

       37.     The Transfer, totaling at least $69,909.25, to the Defendant was made without the


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Consolidated Debtors receiving reasonably equivalent value in exchange for such transfers

pursuant to § 726.106(1), Florida Statutes.

       38.     As set forth above, at the times of the Transfer to Defendant, the Consolidated

Debtors were insolvent or became insolvent as a result of these Transfers.

       39.     Further, at the time of the Transfer, the Consolidated Debtors were indebted to

creditors in an amount in excess of the Transfers.

       40.     As a result of the Transfers, the Trustee has been damaged pursuant to 11 U.S.C. §

544(b) for the total value of these Transfers.

       41.     Defendant was the initial transferee or the entity for whose benefit the Transfer was

made, and as a result, the Plaintiff is entitled to recover the Transfers pursuant to 11 U.S.C. §

550(a)(1). Alternatively, Defendant was the immediate or subsequent transferee of the initial

transferee for whose benefit the Transfers were made, and as a result, the Plaintiff is entitled to

recover these Transfers as referenced above from Defendant pursuant to § 726.106(1), Florida

Statutes and 11 U.S.C. § 550(a)(2).

       42.     As a result of the above, the Trustee can avoid the Transfers from Defendant,

pursuant to §§ 544 and 548 of the Bankruptcy Code and Chapter 726 of the Florida Statues, and

recover the value thereof for the benefit of the estate pursuant to § 550 of the Bankruptcy Code.

       WHEREFORE, Plaintiff, Robert C. Furr, as Chapter 7 Trustee, demands judgment against

Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC and (a) determining that each

of the Transfers are fraudulent and avoidable under § 726.106(1), Fla. Stats.; (b) avoiding the

Transfers and entering judgment in favor of Plaintiff against Defendant, in the aggregate amount

of at least $69,909.25, or in such amounts as are determined at trial, or the value of thereof, and as

otherwise detailed in the amounts set forth herein, plus pre-judgment interest from the date of the




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transfers and post-judgment interest, and costs of suit, all pursuant to 11 U.S.C. § 550; (c)

disallowing any claim that Defendant may have against the Estate, including without limitation,

pursuant to and as provided in 11 U.S.C. § 502(d); and (d) for such other and further relief as the

Court deems just and proper.

             COUNT IV – AVOIDANCE AND RECOVERY OF PROPERTY
             PURSUANT TO SECTION 550 OF THE BANKRUPTCY CODE

       43.     Plaintiff re-states and re-alleges paragraphs 1 through 17, as if fully set forth herein.

       44.     The Transfers are avoidable pursuant to §§ 544 and 548 of the Bankruptcy Code,

including § 726.105(1)(a) and (b), § 726.106(1), Florida Statutes and, as a result, such Transfers

are recoverable by Plaintiff pursuant to Section 550 of the Bankruptcy Code.

       45.     Defendant was the initial transferee of the Transfers and, therefore, the Transfers

are recoverable by the Trustee under § 550 of the Bankruptcy Code.

       46.     Alternatively, Defendant was the immediate or subsequent transferees of the initial

transferee for whose benefit the Transfers were made, and as a result, the Trustee is entitled to

recover these Transfers as referenced above from Defendant pursuant to 11 U.S.C. § 550(a)(2).

        WHEREFORE, Plaintiff, Robert C. Furr, as Chapter 7 Trustee, demands judgment

 against Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC and (a) determining

 that each of the Transfers are fraudulent and avoidable under §§ 544, 548 and 550 of the

 Bankruptcy Code, including § 726.105(1) (b), Florida Statutes; (b) avoiding the Transfers and

 entering judgment in favor of Plaintiff against Defendant in the aggregate amount of at least

 $69,909.25, or in such amounts as are determined at trial, and as otherwise detailed in the

 amounts set forth herein, plus pre-judgment interest from the date of the transfers and post-

 judgment interest, and costs of suit, all pursuant to 11 U.S.C. § 550; (c) disallowing any




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 claim that Defendant may have against the Estate, including without limitation, pursuant to and

 as provided in 11 U.S.C. § 502(d); and (d) for such relief as the Court deems just and proper.

                              COUNT V – UNJUST ENRICHMENT

       47.       Plaintiff re-alleges and re-states paragraphs 1 through 17, as if fully set forth herein.

       48.       The Plaintiff sues Defendant for unjust enrichment.

       49.       The Consolidated Debtors conferred a benefit upon the Defendant by making each

of the Transfers to Defendant as set forth herein.

       50.       At all times material, the Defendant knowingly and voluntarily accepted and

retained the benefit of the Transfers conferred by the Consolidated Debtors.

       51.       The circumstances are such that it would be inequitable and unjust for the

Defendant to retain the benefits conferred by the Consolidated Debtor without paying Plaintiff the

value thereof.

       52.       Based upon these Transfers, the Defendant has been unjustly enriched at the

expense of the Consolidated Debtors.

       53.       Accordingly, the Plaintiff is entitled to the return of those amounts in which the

Defendant was unjustly enriched through disgorgement or any other appropriate remedy.

       WHEREFORE, Plaintiff, Robert C. Furr, as Chapter 7 Trustee, demands judgment against

Defendant, Mar-A-Lago Club, L.L.C. a/k/a Mar-A-Lago Club, LLC, in the amount in which it was

unjustly enriched, together with interest and costs, and for such further relief as the Court may

deem just and proper.

                                        Reservation of Rights

       54.       Plaintiff reserves his right to amend this Amended Complaint to assert any

additional claims for relief against the Defendant as may be warranted under the circumstances as




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allowed by applicable law.

Respectfully submitted this 28th day of January, 2022.

                                         GENOVESE JOBLOVE & BATTISTA, P.A.
                                         Counsel to the Chapter 7 Trustee
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                                                           EXHIBIT A                                        FLACC & Sov. - Mar-a-Lago


Chance & Anthem, LLC (Case No.: 18-16248-MAM)
Florida Association of Community Banks & Sovereign Gaming
Avoidable Transfer - Detail - Mar-a-Lago Club
Four Year Period - January 29, 2014 to January 29, 2018 (Petition Date)

                                                                         Check                                      Disbursement
   Bank                        Entity                 Type     Date       No.          Payee              Memo         Amount
Chase 6890   Florida Association of Community Banks   Check   11/05/14    1040   Mar-a-Lago Club    Acct 5165       $   14,840.00
Chase 6890   Florida Association of Community Banks   Check   12/02/14    1044   Mar-a-Lago Club    Acct 5165              581.13
Chase 6890   Florida Association of Community Banks   Check   12/22/14    1049   Mar-a-Lago Club    Acct 5165            1,036.66
Chase 6890   Florida Association of Community Banks   Check   01/26/15    1055   Mar-a-Lago Club                         2,376.95
Chase 6890   Florida Association of Community Banks   Check   02/23/15    1060   Mar-a-Lago Club    Acct. No. 5165       1,700.06
Chase 6890   Florida Association of Community Banks   Check   04/06/15    1067   Mar-a-Lago Club                         2,020.57
Chase 6890   Florida Association of Community Banks   Check   05/04/15    1071   Mar-a-Lago Club    Acct. No. 5165       2,751.98
Chase 6890   Florida Association of Community Banks   Check   06/05/15    1076   Mar-a-Lago Club                           715.51
Chase 6890   Florida Association of Community Banks   Check   11/03/15    1103   Mar-a-Lago Club                        14,840.00
Chase 6890   Florida Association of Community Banks   Check   03/03/16    1112   Mar-a-Lago Club    5165                 2,115.04
Chase 6890   Florida Association of Community Banks   Check   04/08/16    1117   Mar-a-Lago Club                         1,323.80
Chase 6890   Florida Association of Community Banks   Check   05/03/16    1120   Mar-a-Lago Club    5165                 3,763.32
Chase 6890   Florida Association of Community Banks   Check   06/02/16    1124   Mar-a-Lago Club    Acct 5165               39.43
                                                                                     Subtotal - FLACC - Mar-a-Lago      48,104.45
ST 1472      Sovereign Gaming                         Check   01/02/14   1114    Mar-a-Lago Club    Member No. 5165     12,857.01
ST 1472      Sovereign Gaming                         Check   02/20/14   1130    Mar-a-Lago Club                           300.00
ST 1472      Sovereign Gaming                         Check   03/13/14   1139    Mar-a-Lago Club                         2,392.73
ST 1472      Sovereign Gaming                         Check   04/08/14   1152    Mar-a-Lago Club                         1,343.47
ST 1472      Sovereign Gaming                         Check   06/09/14   1168    Mar-a-Lago Club                         3,789.32
ST 1472      Sovereign Gaming                         Check   06/30/14   1179    Mar-a-Lago Club                           763.75
ST 1472      Sovereign Gaming                         Check   12/16/15   1297    Mar-a-Lago Club                           358.52
                                                                                  Subtotal - Sovereign - Mar-a-Lago     21,804.80
                                                                                                Total - Mar-a-Lago   $   69,909.25




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